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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

UNITED STATES OF AMERICA
                                            Criminal Action No.:
      versus                                1:18-CR-00309-LMM-LTW-1

CHALMER DETLING, II


           PRELIMINARY MOTION TO DISMISS INDICTMENT FOR
                   FAILURE TO ALLEGE AN OFFENSE

      COMES NOW the Defendant, CHALMER DETLING, II, by and through

undersigned counsel, and respectfully moves this Court, pursuant to Federal Rule

of Criminal Procedure 12(b) to dismiss the indictment against him for reasons set

forth herein.

                                 I.   INTRODUCTION

      Counts 1 through 7 of the indictment charge Mr. Detling with wire fraud, in

violation of 18 U.S.C. § 1343. Counts 8 through 15 charge Mr. Detling with

aggravated identity theft, in violation of 18 U.S.C. § 1028(A)(1). However, the

indictment does not allege sufficient facts that even if proven at trial, would

sustain a conviction for either charge.

      A.        The Indictment

      Looking only at the four corners of the indictment, Mr. Detling, a former

attorney, is alleged to have applied for and received certain “litigation advances”
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on personal injury lawsuits handled by his law firm. (Doc. 1). The indictment

makes clear that the government’s position is that these advances were not

authorized by the clients. But the indictment does not address why this fact is

material and how it furthered a fraud against the finance companies. Personal

injury lawyers negotiate and enter into agreements on behalf of their clients

regularly. Lawyers enter into fee agreements with expert witnesses, retain medical

professionals to evaluate claims, and even enter into settlement agreements on

behalf of their clients. A lawyer’s apparent authority to bind his client to an

agreement is a necessary part of the litigation process and such agreements are

routinely enforced against clients even when the lawyer lacked specific

authorization. The client’s recourse is against the lawyer for exceeding his or her

authority, not against the innocent third part that relied on the lawyer’s

representation.

      B.     Fraud versus Deception

      Counts 1 through 15 of the indictment are legally insufficient and should be

dismissed because they fail to allege the essential elements of the offenses. The

indictment gives short shrift to the mechanics of the litigation advance transactions

but the implication is that in return for an advance of money, the finance entities

would receive some type of equitable financial interest in the outcome of the

plaintiff’s case. The indictment is fatally flawed, however, because it never alleges

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that the finance companies didn’t receive exactly what they paid for. Even if the

Court finds that the indictment properly alleges some sort of misrepresentation

from Mr. Detling to the finance companies (which Mr. Detling believes it fails to

do) it should still be dismissed because it doesn’t connect that misrepresentation

to fraud rather than to deception.       Simply put, if the agreement allegedly

authorized by the Defendant perfected the finance companies equitable interest in

the case then there can be no fraud.

                             II.   LEGAL ARGUMENT

      To be legally sufficient, and indictment must (1) present the essential

elements of the charged offense, (2) notify the accused of the charges to be

defended against, and (3) enable the accused to rely upon a judgment under the

indictment as a bar against double jeopardy for any subsequent prosecution for

the same offense. United States v. Steele, 178 F.3d 1230, 1233-34 (11th Cir. 1999).

“A criminal conviction will not be upheld if the indictment upon which it is based

does not set forth the essential elements of the offense.” United States v. Fern, 155

F.3d 1318, 1324-25 (11th Cir. 1998).

      Wire fraud requires that a person (1) intentionally participates in a scheme

or artifice to defraud or obtain money by means of false or fraudulent pretenses,

representations or promises and (2) uses or causes to be used wire

communications for the purpose of executing the scheme. 18 U.S.C. § 1343. To

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establish a prima facie case of wire fraud, the government must allege and prove

beyond a reasonable doubt that the defendant acted with the “intent to defraud.”

United States v. Bradley, 644 F.3d 1213, 1239 (11th Cir. 2011). However, mere

“intent to deceive” does not necessarily constitute “intent to defraud.” United

States v. Takhalov, 827 F.3d 1307 (11th Cir. 2016).

       “The law in the Eleventh Circuit makes clear that a defendant schemes to

defraud only if he schemes to deprive someone of something of value by trick,

deceit, chicane, or overreaching. But if a defendant does not intend to harm the

victim—to obtain, by deceptive means, something to which the defendant is not

entitled—then he has not intended to defraud the victim.” Takhalov, 827 F.3d at

1312-1313. Thus, a person who merely tricks someone to enter into a transaction

has not “schemed to defraud,” as contemplated by the wire fraud statute, as long

as he does not “intend to harm the person he intends to trick.” Id. at 1313.

      Additionally, in a “scheme to defraud,” the defendant must lie about “the

nature of the bargain itself.” Id. As the Eleventh Circuit explained in Takhalov,

that lie may take two primary forms. The “defendant might lie about the price

(e.g., if he promises that a good costs $10 when it in fact costs $20) or he might lie

about the characteristics of the good (e.g., if he promises that a gemstone is a

diamond when it is in fact a cubic zirconium). In each case, the defendant has lied

about the nature of the bargain and thus in both cases the defendant has

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committed wire fraud. But if a defendant lies about something else—e.g., if he says

that he is the long-lost cousin of a prospective buyer—then he has not lied about

the nature of the bargain, has not ‘schemed to defraud,’ and cannot be convicted

of wire fraud on the basis of that lie alone.” Takhalov, 827 F.3d at 1313-1314. “Thus,

even if a defendant lies, and even if the victim made a purchase because of that lie,

a wire fraud case must end in an acquittal if the jury nevertheless believes that the

alleged victims ‘received exactly what they paid for.’” Id. (citing United States v.

Shellef, 507 F.3d 82, 108 (2d Cir. 2007)).

      Mr. Detling shows that the facts set forth in his indictment, even if proven,

merely allege an “intent to deceive” and not an “intent to defraud” or an intent to

harm the named victim. This is evidenced by the “Background”, “Litigation

Financing Business”, and “Scheme to Defraud Litigation Financing Entities and

Use of Client Personal Identifying Information” sections in the indictment. (Doc.

1). The “Background” section explains that Mr. Detling was a lawyer whose

practice focused primarily on personal injury work. The “Litigation Financing

Business” section explains how litigation financing entities provide litigation

advances, which are considered investments, for personal injury cases. The

litigation financing entities determine whether to provide these advances by

evaluating the merits of the plaintiff’s claims. These advances are not loans and do

not need to be reimbursed if a plaintiff has no recovery in their case. In the

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“Scheme to Defraud Litigation Financing Entities and Use of Client Personal

Identifying Information” section, the indictment alleges that Mr. Detling used his

client’s information to apply for and receive litigation advances.

      There are no allegations nor any evidence that Mr. Detling was not actually

representing these plaintiffs in personal injury or other civil matters that would

qualify them for the litigation advances received, nor are there any allegations nor

any evidence that these litigation financing entities did not evaluate the merits of

the plaintiff’s civil cases before deciding to provide advances. The litigation

financing entities provided advances on a non-recourse basis, with no obligation

from the plaintiff to repay the investor if the underlying litigation was

unsuccessful. These entities, therefore, received what they bargained for – an

opportunity to invest in pending civil litigation – and were not defrauded as

required for a prosecution under the federal wire fraud statute.

      Since the facts set forth in the indictment do not establish any intent of Mr.

Detling to defraud or to harm the litigation financing entities and only support, at

best, an intent to deceive, the substantive counts of wire fraud, as well as the counts

for aggravated identity theft, which is predicated upon the wire fraud counts, all

must fail.




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                               III.   CONCLUSION

      WHEREFORE, for all of the reasons set forth herein, Mr. Detling respectfully

urges this Court grant him leave to file an amended and/or perfected motion on

this matter and to enter an Order dismissing the indictment against him.

      Dated:      This 30th day of October, 2018.

                                      Respectfully Submitted,

                                      /s/ Molly Hiland Parmer
                                      MOLLY HILAND PARMER
                                      GEORGIA BAR NO. 942501
                                      ATTORNEY FOR MR. DETLING




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                              CERTIFICATE OF SERVICE

      I hereby certify that the foregoing has been formatted in Book Antiqua 13

pt., in accordance with Local Rule 5.1B, and was filed this day with the Clerk of

Court electronically using the CM/ECF system which will automatically sent

email notification of such filing to counsel of record:

                          Alex R. Sistla and John Ghose
                          Assistant United States Attorneys
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      Dated: This 30th day of October, 2018.

                                       /s/ Molly Hiland Parmer
                                       MOLLY HILAND PARMER
                                       GEORGIA BAR NO. 942501
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